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Attorneys for Plaintiff,
Robert Morgan

                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY

                                             :

Robert Morgan,                               :

                Plaintiff,                   :        Civil Case No.:

vs.                                          :

GC Services, LP.,                            :

                Defendant.                   :

                                             :



                                   VERIFIED COMPLAINT

         Plaintiff, Robert Morgan (Plaintiff), through his attorneys, Kurtz Law Group, LLC,

alleges the following against Defendant, GC Services, LP (Defendant):

                                       INTRODUCTION

      1. Count I of Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act

         (FDCPA), 15 U.S.C. 1692, et seq.

                                            PARTIES

      2. Plaintiff is a natural person residing at 644 Monroeville Rd, Monroeville, New Jersey

         08343-2513.

      3. Defendant is a national debt collection corporation with a business office located in
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    Houston, Texas.

 4. Plaintiff is a consumer as that term is defined by 15 U.S.C. 1692a(3), and according to

    Defendant, Plaintiff allegedly owes a debt as that term is defined by 15 U.S.C. 1692a(5).

 5. Defendant is a debt collector as that term is defined by 15 U.S.C. 1692a(6), and sought

    to collect a consumer debt from Plaintiff.

 6. Defendant acted through its agents, employees, officers, members, directors, heirs,

    successors, assigns, principals, trustees, sureties, subrogees, representatives, and

    insurers.

                              JURISDICTION AND VENUE

 7. Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that such

    actions may be brought and heard before “any appropriate United States district court

    without regard to the amount in controversy.”

 8. Defendant conducts business in the State of New Jersey, and therefore, personal

    jurisdiction is established.

 9. Venue is proper pursuant to 28 U.S.C. 1391(b)(2).

                                   FACTUAL ALLEGATIONS

 10. In or around June 2013, Defendant placed collection calls to Plaintiff seeking and

    demanding payment for an alleged consumer debt.

 11. Plaintiff’s alleged debt owed arises from transactions for personal, family, and household

    purposes on a Chase Bank USA N.A. account number ending in 1673.

 12. Defendant called Plaintiff’s home telephone number at 609-534-26XX.

 13. Defendant called Plaintiff’s home basement telephone number at 856-497-41XX.

 14. Defendant called Plaintiff’s cellular telephone number at 856-521-57XX.




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   15. On June 23, 2013 Defendant called Plaintiff and left a voicemail message on Plaintiff’s

       answering machine. See transcribed voicemail message attached hereto as Exhibit A.

   16. In the voicemail message, Defendant failed to meaningfully disclose the company’s

       name, the nature of the call, or state that the call was from a debt collector. See Exhibit

       A.

   17. Defendant is using false, deceptive and misleading means in connection with attempting

       to collect a debt by not identifying the purpose of its phone calls or that they are an

       attempt to collect a debt.

                             COUNT I
    DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT

   18. Defendant violated the FDCPA based on the following:

            a. Defendant violated §1692d of the FDCPA by engaging in conduct the natural

               consequence of which was to harass, oppress, or abuse Plaintiff in connection

               with the collection of a debt.

            b. Defendant violated §1692d(6) of the FDCPA by placing telephone calls without

               meaningful disclosure of the caller’s identity.

            c. Defendant violated §1692e of the FDCPA by using false, deceptive or misleading

               representation with the collection of the debt.

            d. Defendant violated §1692e(10) of the FDCPA by using deceptive means in an

               attempt to collect a debt.

            e. Defendant violated §1692e(11) of the FDCPA by failing to disclose that the call

               was from a debt collector.

       Wherefore, Plaintiff, Robert Morgan, respectfully requests judgment be entered against

Defendant, GC Services, LP. for the following:



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   19. Statutory damages of $1,000.00 pursuant to the Fair Debt Collection Practices Act, 15

       U.S.C. 1692k.

   20. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices Act,

       15 U.S.C. 1692k.

   21. Any other relief that this Honorable Court deems appropriate.

                  CERTIFICATION PURSUANT TO LOCAL RULE 11.2

       Pursuant to Local Rule 11.2, I certify that this matter in controversy is not the subject of

any other action pending in any court, arbitration, or administrative proceeding.



  DATED: July 26, 2013                The Law Offices of Jennifer M. Kurtz, LLC


                                      By: /s/ Dennis Kurtz

                                             Dennis Kurtz
                                             Attorney for Plaintiff,
                                             Robert Morgan




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              VERIFICATION OF COMPLAINT AND CERTIFICATION
STATE OF NEW JERSEY)

       Plaintiff, ROBERT MORGAN, says as follows:

  1.     I am the Plaintiff in this civil proceeding.
  2.     I have read the above-entitled civil Complaint prepared by my attorneys and I believe
         that all of the facts contained in it are true, to the best of my knowledge, information
         and belief formed after reasonable inquiry.
  3.     I believe that this civil Complaint is well grounded in fact and warranted by existing
         law or by a good faith argument for the extension, modification or reversal of existing
         law.
  4.     I believe that this civil Complaint is not interposed for any improper purpose, such as
         to harass any Defendant(s), cause unnecessary delay to any Defendant(s), or create a
         needless increase in the cost of litigation to any Defendant(s), named in the
         Complaint.
  5.     I have filed this Complaint in good faith and solely for the purposes set forth in it.
  6.     Each and every exhibit I have provided to my attorneys which has been attached to
         this Complaint is a true and correct copy of the original.
  7.     Except for clearly indicated redactions made by my attorneys where appropriate, I
         have not altered, changed, modified or fabricated these exhibits, except that some of
         the attached exhibits may contain some of my own handwritten notations.



           Pursuant to 28 U.S.C. § 1746(2), I, ROBERT MORGAN, hereby declare (or certify,
verify or state) under penalty of perjury that the foregoing is true and correct.




Dated:______________                        ________________________________________
                                                  ROBERT MORGAN
                                                  Plaintiff




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